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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

MATTHEW J. DOUGLAS, et al.,

Plaintiffs, Case No, CV01-207-N-EJL
vs. ORDER FOR MEDIATION
PRIMEBUYNETWORK.COM, INC., et al.,

Defendants.

 

The parties have agreed to participate in mediation. Pre-alternative dispute resolution (ADR)
discovery shall be completed on or before April 5, 2002. This deadline shall only be extended for
good cause shown. The parties shall meet, at a time and place agreeable to all, on or before May 6,
2002, with individuals who have settlement authority. The parties shall file with the court on or
before May 13, 2002, a joint written statement regarding the efforts and progress made towards
settlement. The report shall also state the parties’ estimated trial time.

Mediation is a non-binding process wherein the parties attempt to resolve their differences
with the assistance of a third-party facilitator; the mediator. All proceedings in a mediation session

are confidential and privileged from discovery.

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In accordance with the Mediation Program Procedures for the District of Idaho, the parties
will be contacted by the ADR Coordinator for this district, who will provide information regarding
the selection of a neutral, qualified mediator. The selected mediator will make the discretionary
determination as to the exact date of the mediation session based upon the particular circumstances
of the case and input from the respective parties. The mediator will also determine whether any
follow-up mediation sessions are necessary.

Named parties shall be present during the entire mediation process tn accordance with
Section (m) of the Mediation Program Procedures for the District of Idaho. The parties shall make
independent arrangements for payment of fees for the mediation. The costs of mediation are to be
divided and borne equally by the parties unless agreed otherwise.

Following the mediation, the Court will be advised only that the case did or did not settle.
No other information will be transmitted by the mediator or any other party.

Counsel and parties shall proceed in a good faith effort to try to resolve this case. Referral
to alternative dispute resolution is not a substitute for trial, however, and the case will be tried if not
settled, said trial date will remain on the calendar until further notice from the mediator or the

parties. o

Dated this _?¢ ~ day of July, 2001,

 

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ued States District Court @
for the
District of Idaho
July 30, 2001

* * CLERK'S CERTIFICATE OF MAILING * *

Re: 2:01-cv-00207

I certify that a copy of the attached document was mailed to the
following named persons:

Richard H Greener, Esq. he Keldehor

COSHO HUMPHREY GREENER & WELSH
815 W Washington
Boise, ID 83702

Thomas G Walker, Esq.

COSHO HUMPHREY GREENER & WELSH
815 W Washington

Boise, ID 983702

LaDbawn M Marsters, Esq.

COSHO HUMPHREY GREENER & WELSH
815 W Washington

Boise, ID 83702

Lynn Lincoln Sarko, Esq.
KELLER ROHRBACK

1201 3rd Ave #3200
Seattle, WA 938101

Mark A Griffin, Esq.
KELGEBER ROHRBACK
1201 3rd Ave #3200
Seattle, WA 98101

Elizabeth A Leland, Esq.
KELLER ROHRBACK

1201 3rd Ave #3200
Seattle, WA 98101

Steven C Bowman, Esq.
HOLLAND & HART

PO Box 2527

Boise, ID 83701

Aimee Y Wong, Esq.
OPPENHEIMER WOLFF & DONNELLY
840 Newport Center Dr #700
Newport Beach, CA $2660

Paul ¢C Nyquist, Esq.

OPPENHEIMER WOLFF & DONNELLY
840 Newport Center Dr #700
Newport Beach, CA 92660

Date: Leber BH), BOO! BY: Catsh (bugle

(Deputy Clerk)

Cameron S. Burke, Clerk
